Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 1 of 28 PageID #:
                                             1088



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  MATSON WILLIS, et al.,                           )
       Plaintiffs,                                 )
                                                   )
         vs.                                       )     1:09-cv-815-JMS-DML
                                                   )
  COMMISSIONER, INDIANA DEPARTMENT OF              )
  CORRECTION, et al.,                              )
       Defendants.                                 )

                                               ORDER

         Presently before the Court are the parties’ Cross-Motions for Summary Judgment,1 [dkt.

  80; 83], in this action seeking enforcement of inmates’ rights to obtain kosher meals to properly

  exercise their religious beliefs during their incarceration at the Indiana Department of Correction.

                                                   I.

                                       STANDARD OF REVIEW

         A motion for summary judgment asks that the Court find that a trial based on the uncon-

  troverted and admissible evidence would – as a matter of law – conclude in the moving party’s

  favor and is thus unnecessary. See Fed. R. Civ. Pro. 56(c). When evaluating a motion for sum-

  mary judgment, the Court must give the non-moving party the benefit of all reasonable infe-

  rences from the evidence submitted and resolve “any doubt as to the existence of a genuine issue

  for trial...against the moving party.” Celotex Corp. v. Catrett, 477 U.S. 317, 330 n.2 (1986).

  Nevertheless, “the Court’s favor toward the non-moving party does not extend to drawing infe-

  rences that are supported by only speculation or conjecture.” Singer v. Raemisch, 593 F.3d 529,

  1
    Mr. Willis represents a certified class of inmates confined within the Indiana Department of
  Correction, including the New Castle Correctional Facility, who have identified, or who will
  identify, themselves to the Indiana Department of Correction as requiring a kosher diet in order
  to properly exercise their religious beliefs and who have requested such a diet, or would request
  it if such a diet was available. [Dkt. 47.] As explained later, Mr. Willis also presents an individ-
  ual claim.
                                                 -1-
Case 1:09-cv-00815-JMS-DML           Document 103        Filed 11/01/10      Page 2 of 28 PageID #:
                                            1089



  533 (7th Cir. 2010). The non-moving party must set forth specific facts showing that there is a

  material issue for trial and cannot rely upon the mere allegations or denials in the pleadings.

  Fed. R. Civ. Pro. 56(e); Celotex, 477 U.S. 317. Moreover, the non-moving party must do more

  than just demonstrate a factual disagreement between the parties; it must demonstrate that the

  disputed factual issue is “material.” Outlaw v. Newkirk, 259 F.3d 833, 837 (7th Cir. 2001). The

  key inquiry is the existence of evidence to support a plaintiff’s claims or affirmative defenses,

  not the weight or credibility of that evidence, both of which are assessments reserved to the trier

  of fact. See Schacht v. Wis. Dep’t of Corrections, 175 F.3d 497, 504 (7th Cir. 1999).

         Cross-motions for summary judgment do not automatically mean that all questions of

  material fact have been resolved. Franklin v. City of Evanston, 384 F.3d 838, 842 (7th Cir.

  2004). The Court must evaluate each motion independently, making all reasonable inferences in

  favor of the nonmoving party with respect to each motion. Id. at 483.

         After having assessed the claims of the parties in accordance with the standards outlined

  above, the Court concludes that Mr. Willis, on behalf of the class, is entitled to summary judg-

  ment on Count I, and that Mr. Willis is individually entitled to declaratory relief as to Count II.

  Therefore, in what follows, the Court makes all reasonable factual inferences in favor of the De-

  fendants (collectively, the “DOC,” unless otherwise indicated) with respect to the class claims.

  With respect to Mr. Willis’s individual claims, the Court will draw all reasonable inferences in

  favor of the non-moving party. See Fed. R. Civ. Pro. 56(c).

                                                  II.

                                           BACKGROUND

         This action involves a claim for class relief, as well as a claim for individual relief. On

  behalf of the class previously defined by this Court, Mr. Willis argues that the denial of kosher

  meals violates the religious rights of all the class members. [Dkt. 81 at 1.] In an individual ca-

                                                 -2-
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 3 of 28 PageID #:
                                             1090



  pacity, Mr. Willis further argues that being deprived his religious meal card after failing to eat at

  least 75 percent of his meals violated his individual First Amendment rights. [Id. at 2.]

     A) DOC’s Food Service

         Since 2005, the DOC has contracted with Aramark Correctional Services, Inc. (“Ara-

  mark”) to provide food services for inmates. [Dkt. 84 at 3.] The contract, which is updated an-

  nually, establishes a per-meal price that is multiplied by the daily inmate census and charged ac-

  cordingly. [Id.] In 2009, each meal cost $1.154. [Id.] The DOC’s contract with Aramark orig-

  inally provided that kosher meals would be billed to the DOC on top of the amount already billed

  based on population figures. In 2005, the cost of kosher meals ranged from $3.99 to $4.11 per

  meal. [Id.]

         All DOC facilities have kitchens staffed by Aramark employees. [Id. at 4.] Each kitchen

  area has preparation, cooking, distribution, and cleaning areas. [Id.] In larger facilities, trays,

  glasses, utensils, and some pots and pans are washed in large commercial dishwashers; the larger

  food preparation items are washed in three-bay sinks. [Id.] In smaller facilities, all items are

  washed in three-bay sinks. [Id.]

     B) Keeping Kosher

         The DOC acknowledges that keeping kosher is an intrinsic element of the faith of some

  Jews. [Id.] Historically, the DOC has also permitted even non-Jews who have a sincerely held

  religious reason for requesting kosher meals to obtain them. [Id. at 7.]

         The laws of kosher address a comprehensive dietary system – including not only the

  types of foods that may be eaten, but also the preparation requirements, which ensure kosher in-

  gredients are not “contaminated” by non-kosher ingredients. [Dkt. 80-1 at 3.] An assurance

  against the possibility of “contamination” is a crucial part of the laws of kosher. [Dkt. 83-14 at

  7.] According to the laws of kosher, dairy and meat, both of which must be kosher in their core

                                                  -3-
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 4 of 28 PageID #:
                                             1091



  ingredients, must be totally separated during preparation and consumption; they may neither be

  served at the same meal nor mixed with plates/utensils that have touched the other category of

  food. [Id. at 7-8; dkt. 80-1 at 5.] Observant Jews wait one hour after consuming dairy before

  eating meat and six hours after consuming meat before eating dairy. [Dkt. 80-1 at 4.] The same

  is true for anything touching the foods, e.g., plates, utensils, glasses. [Id. at 5.] Although the

  laws of kosher are traditionally complicated, one fundamental tenet is non-contamination of

  kosher food products with non-kosher products during and after preparation – as such, kosher

  food must be carefully supervised through the phases of production. [Dkt. 80-1 at 3.]

     C) Past DOC Practice Regarding the Preparation of Kosher Meals

         In the past, the DOC has ensured non-contamination of kosher meals by having them

  cooked and then frozen offsite by a certified kosher food vendor contracted by Aramark. [Dkt.

  84 at 5.] The meals would then be heated at the facilities and supplemented by other foods made

  with kosher ingredients (the latter of which were prepared at the facilities without utensils). [Id.]

  Everything in the prepackaged kosher meals, as well as the utensils and cups used to serve them,

  was single-use and disposable. [Id.]

         DOC policy required authorization of religious personal preference diets – inmates with

  special diets were issued diet cards. [Id.] The number of kosher meals prepared corresponded

  with the number of inmates with kosher personal preference diet cards. [Id.] At meal-time, in-

  mates would present their personal preference diet card, and the food service supervisor would

  make a record of it. [Id. at 6.] The supervisor then inspected the inmate’s tray “to ensure it

  [was] made correctly.” [Id.]

         When pre-packaged kosher meals were served on a daily basis, the lunch and dinner

  meals were pre-packaged, but the breakfast meals were not. [Dkt. 84 at 5.] The breakfast meal

  was served with no meat and with the kosher ingredients that were set aside for the kosher meals.
                                                  -4-
Case 1:09-cv-00815-JMS-DML            Document 103       Filed 11/01/10      Page 5 of 28 PageID #:
                                             1092



  [Id.] To reduce the risk of contamination between kosher and non-kosher foods, breakfasts were

  to be prepared without utensils when possible, and all items used to prepare and serve the break-

  fast meals were disposed of after the meal. [Id.] The cost of disposable utensils for the breakfast

  meal was included in the per-meal cost charged by Aramark to DOC. [Id. at 6.]

         Other kosher foods, including tuna and peanut butter, were available for inmates to pur-

  chase from the commissary. [Id.] The DOC also provided, and continues to provide, “lacto-ovo

  vegetarian” diet options (i.e., vegetarian meals that may include eggs and dairy) and diets with-

  out red meat, which were prepared with the regular meals and separated at the time of serving,

  thereby rendering them non-kosher. [Id. at 6.] These types of meals involve kosher ingredients,

  though aren’t necessarily kosher given the way they are prepared. [Dkt. 83-8 at 6.]

         In addition to pre-packaged kosher diets, the DOC briefly provided Hallal2 meals to Mus-

  lim inmates. [Dkt. 84 at 6.] Notably, the ingredients in the pre-packaged kosher meals meet the

  basic requirements of Hallal, but preparation and service of Hallal meals does not present the is-

  sue of cross-contamination. [Id. at 8.]

      D) Cost Reduction at DOC

         The extra cost incurred by the DOC in providing kosher meals to individuals who re-

  quested them – some of whom were non-Jewish but requested them in accordance with other re-

  ligious beliefs, [dkt. 84 at 7], was initially a few thousand dollars per month. [Id.] But in the

  past few years, the number of kosher meals increased, in large part due to Muslim inmates who

  did not have access to Hallal meals but found sufficient substitutes in kosher meals. [Id.] DOC

  chose to accommodate the Hallal meal requests by providing pre-packaged kosher meals. [Id.]

  The cost of providing kosher meals increased accordingly. [Id. at 7-8.] By the fall of 2008, the


  2
   “Hallal” is an Arabic word meaning “lawful” or “permitted” and refers to food items allowable
  under Islamic dietary restrictions. [Dkt. 81 at 9.]
                                                 -5-
Case 1:09-cv-00815-JMS-DML             Document 103        Filed 11/01/10     Page 6 of 28 PageID #:
                                              1093



  monthly cost of pre-packaged kosher meals had risen to between $40,000 and $60,000. [Id. at

  9.]

            On January 1, 2009, in an effort to reduce costs, the DOC began serving Hallal meals, the

  entrée portions of which were prepared offsite and substituted for the entrées served in regular

  meals. [Id.] The cost to DOC was $2.00 per meal above the per-capita cost, just half the cost of

  kosher meals. [Id.] However, since the number of inmates receiving Hallal meals vastly ex-

  ceeded the number of inmates who had been receiving pre-packaged kosher meals, the cost of

  the Hallal meals continued increasing until it was over $100,000 for the month of February. [Id.

  at 10.]

            In April 2008, DOC instituted a policy (“the 75-percent policy”) in an attempt to curb in-

  creasing religious preference costs. DOC already had in place a policy suspending special diets

  for offenders who failed to pick up 25 percent of medically prescribed diets. [Id. at 11.] The

  medical diet policy was developed in part by DOC’s Director of Religious Services and Com-

  munity Involvement, Dr. Hall, one of the individual Defendants named here. [Dkt. 83-8 at 22.]

  Under the policy as amended, if an inmate with any personal preference diet card failed to “par-

  ticipate in” at least 75 percent of all religious meals, the personal preference diet card was sus-

  pended. [Dkt. 84 at 11.] Aramark was to provide the chaplains a weekly list showing the com-

  pliance of individual inmates. Chaplains would decide whether inmates’ diet card use violated

  the policy. [Id.] If an inmate disagreed with the chaplains’ decision, he could file a grievance to

  be reviewed at the facility. [Id.] The inmate could then appeal the result of the grievance to Dr.

  Hall. [Id.]

            Despite this policy, the cost of religious preference diets continued growing beyond what

  DOC deemed, “an acceptable level due to the massive increase in the numbers of offenders who



                                                   -6-
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 7 of 28 PageID #:
                                             1094



  wanted pre-packaged religious meals.” [Id. at 12.] DOC offered no evidence that this “massive

  increase” was caused because of kosher meal requests.3 There is also no evidence that DOC

  tried or considered ways to reduce costs of kosher meals at this point. Instead, because “the

  DOC did not have the funds to absorb the increase in cost of providing these meals,” (again, not

  limited to kosher,) on June 1. 2010, the DOC “discontinue[d] providing prepackaged meals to

  offenders who requested personal preference diets for religious reasons and offered them vegan

  meals [(i.e., meals that use exclusively plant-based ingredients)] prepared in the facilities.” [Id.]

  Discontinuing the pre-packaged kosher and Hallal meals reduced the DOC’s additional costs to

  zero, as Aramark will supply vegan meals as part of its base price on the contract. [Id. at 12-13.]

      E) DOC’s Stipulation

         DOC acknowledges, “The laws of [kosher] require Jews to keep kosher in their diet,

  which includes both the types of foods that may be eaten and preparation requirements to ensure

  those ingredients are not contaminated. [Dkt. 84 at 4.] Therefore, DOC does not claim that the

  vegan meals are kosher. [Dkt. 83-8 at 6.] In fact, DOC affirmatively states, “[DOC does] not

  offer affirmative proof that the vegan meals are in fact kosher according to the plaintiff’s defini-

  tion.” [Dkt. 90 at 3.]

         Instead, DOC asserts that the food is “being served as part of a menu that does not con-

  tain items that are restricted by the laws of kosher.” [Id.] Nevertheless, despite the fact that the

  ingredients used in vegan meals are themselves kosher, the parties agree that a meal made from


  3
    DOC includes the number of inmates receiving Hallal meals in this increase because the cost of
  providing Hallal meals was likewise added to the base cost Aramark relied upon to bill the DOC
  for providing regular meals. [Id. at 9.] Indeed, in April 2009, 93 offenders at MCF were receiv-
  ing Hallal diets, while only 35 were receiving kosher meals. [Dkt. 83-15 at 3-4.] However, Hal-
  lal diets are not the subject of this litigation and should not feature in DOC’s figures regarding
  the cost of kosher meals.


                                                  -7-
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 8 of 28 PageID #:
                                             1095



  these ingredients is not necessarily kosher: The problem lies in the preparation, for if, at any

  point, non-kosher ingredients, water, or plates/utensils that have touched non-kosher food con-

  taminates the vegan food, the meal is no longer kosher. [Dkt. 83-6.]

      F) Vegan as an Alternative to Kosher

          Despite its acknowledgement that vegan meals are not necessarily kosher, DOC attempts

  to prepare vegan food in accordance with kosher principles. [Dkt. 84 at 13.] However, these

  attempts are not failsafe. For example, in every facility, there is a separate area for the prepara-

  tion of vegan food; and pots, pans, utensils, and trays are specifically designated to be used for

  vegan food preparation. [Id.] Nevertheless, the same dishwashers and three-bay sinks that are

  used to wash these items are used to prepare and serve non-vegan meals, in violation of the laws

  of kosher. [Id.] Although the dishwashers and three-bay sinks are “supposed to be completely

  cleaned and sanitized before washing” anything used to prepare and serve vegan meals, DOC

  can offer no assurance that this process is actually carried out at every meal. [Id.] Likewise,

  sporks, cups and glasses are “supposed to be identified as vegan,” and washed and stored sepa-

  rately from trays on which non-vegan meals are served, but this policy may have little bearing on

  actual DOC practice.4 [Id; dkt. 83-2 at 15.] Finally, although there are separate sponges and

  rags to clean food surfaces that are designated for vegan food, there is no supervision of their ac-

  tual use. [Id.]

          In an effort to regulate these policies, two DOC employees perform unannounced on-site

  audits of all DOC facilities in which Aramark provides food services. [Dkt. 83-1 at 5.] Addi-

  tionally, DOC conducts follow-up audits to ensure that issues identified in an audit are resolved.

  [Id.] The DOC has audited every facility serving vegan meals, and “none of these audits are


  4
    Spoons, spatulas, pans to hold food, stock pots and the like were etched with marks to identify
  them as vegan. [Id. at 55.]
                                                 -8-
Case 1:09-cv-00815-JMS-DML           Document 103        Filed 11/01/10      Page 9 of 28 PageID #:
                                            1096



  known to have revealed any significant issues concerning actual or potential contamination of

  vegan meals being prepared in the same facility as non-kosher meals.” [Id. at 6.] But although

  DOC’s audits do include a review of food service operations of vegan meals to ensure guidelines

  separating vegan from regular meals are met, [id. at 5], the audits themselves are simply to en-

  sure that food services meet “minimum accreditation standards” and to address any issue identi-

  fied by the Department of Health – not to ensure compliance with the laws of kosher. [Id. at 5.]

  DOC therefore recognizes that these practices simply “decrease the likelihood of cross-

  contamination of vegan meals” – they do not eliminate the possibility. [Dkt. 84 at 15.]

         DOC maintains that imposing stricter measures to ensure non-contamination would be

  costly: “It is far cheaper to use re-usable trays and silverware and wash them.” [Id.] It says that

  it will continue to attempt to improve its procedures to ensure vegan meals can be prepared in a

  kosher manner, but that there are no known alternatives that will not increase the costs to DOC.

  [Id.] That said, the DOC has made no attempt to determine if other providers could deliver

  kosher diets less expensively or to quantify the alleged expense associated with improved super-

  vision. [Dkt. 89 at 13.]

     G) Maston Willis

         Maston Willis is an Orthodox Jew who has been continuously incarcerated in DOC since

  2003. [Dkt. 83-14 at 2-3.] Mr. Willis’ incarceration has been primarily at Miami Correctional

  Facility (“MCF”). [Id. at 2.] Consistent with the traditions of Orthodox Judaism, observing the

  laws of kosher are essential to Mr. Willis’ faith. [Id. at 3-4.] According to Mr. Willis, whether

  or not food is kosher depends on the ingredients and how it is prepared, and he will not eat unre-




                                                 -9-
Case 1:09-cv-00815-JMS-DML            Document 103          Filed 11/01/10    Page 10 of 28 PageID
                                            #: 1097



 liably prepared meals.5 [Dkt. 83-14 at 7.] Like many observant Jews, Mr. Willis will not con-

 sume dairy for six hours after eating meat. [Id. at 19.]

        Mr. Willis eats neither the vegan meals nor the vegetarian meals because they are not

 kosher. [Dkt. 83-14 at 19.] When kosher diets were available at MCF, Mr. Willis signed up for

 and received the kosher food. [Id. at 8.] But because breakfast at MCF was not pre-packaged,

 Mr. Willis did not eat it out of concern about cross-contamination. [Id.] So that he did not have

 to stand in line and pick up a non-kosher breakfast only to throw it away, Mr. Willis obtained

 permission from an official to stay in his cell during breakfast. [Dkt. 89 at 25.] He obtained this

 permission before the 75-percent policy was imposed. [Dkt. 95 at 19.] At this point, it “may

 have been possible” for Mr. Willis to try to go through the breakfast line and submit his diet card

 for his participation to be marked and then decline to accept the meal. [Dkt. 84 at 20.] In April

 2009, upon learning that Mr. Willis only used his diet card for 62 percent of meals, Chaplain

 Hodges, the other Defendant in this case, suspended Mr. Willis’ diet card. [Dkt. 83-14 at 16.]

        In May 2009, MCF discontinued the distribution of pre-packaged kosher meals altogeth-

 er. [Dkt. 84 at 21.] Any inmate who requested a diet for religious reasons was instead offered a

 personal preference diet card for a vegan meal. [Id.] On May 26, 2007, Mr. Willis requested in

 writing that his kosher diet be restored the next day. [Id.] Chaplain Hodges approved the re-

 quest but offered Mr. Willis the vegan diet. Mr. Willis refused. [Id.]




 5
  Kosher food items often have labels with symbols indicating who conducted the kosher certifi-
 cation; some of the symbols are more reliable than others. For instance, “O-U” is the most reli-
 able because it has been certified by a rabbi. A “K” indicates the item is kosher but does not in-
 dicate a rabbi has ever toured the food production facility and so this designation is less reliable.
 Mr. Willis does not eat food with only the “K” designation. [Dkt. 83-14 at 7.]
                                                - 10 -
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 11 of 28 PageID
                                            #: 1098



        Mr. Willis grieved the revocation of his kosher diet card, and the prison’s administrative

 assistant denied his grievance. [Id.] Mr. Willis then appealed his grievance, and his appeal was

 likewise denied. [Id.]

                                                 III.

                                             DISCUSSION

        In Count I of his Second Amended Complaint, Mr. Willis alleges, on behalf of the class,

 that the denial of kosher meals for inmates6 who requested them for religious reasons violates the

 Religious Land Use and Institutionalized Persons Act (“RLUIPA”), 42 U.S.C. § 2000cc-1(a). In

 Count II, Mr. Willis seeks declaratory7 relief against DOC for implementing a policy that vi-

 olated his rights under RLUIPA. [Dkt. 84 at 1.] He further seeks nominal damages under §

 1983 against Defendants Dr. Hall and Chaplain Hodges for creating and enforcing DOC policy

 that required inmates to use their religious diet cards for at least 75 percent of prison meals, lest

 the card be revoked, in violation of the First Amendment. [Id.]

     A) Does the DOC’s Termination of Kosher Diets Violate RLUIPA?

        RLUIPA was “enacted . . . in part, to protect inmates and other institutionalized persons

 from substantial burdens in freely practicing their religions.” Charles v. Verhagen, 348 F.3d

 601, 606 (7th Cir. 2003). The burden of implementing RLUIPA applies to any facility owned or

 operated by a state including prisons – but only if the prison system receives federal funding. 42

 U.S.C. §§ 2000cc-1, 1997(1). Because the parties agree that the DOC has received the benefit of

 6
   At the time kosher diets were suspended, approximately 99 prisoners were authorized to re-
 ceive kosher diets, and 23 Jewish prisoners were temporarily suspended from those diets; during
 the last Passover holiday, 74-79 prisoners received kosher meals. [Dkt. 80-21 at 3.]
 7
   Plaintiffs also request that the Court enjoin DOC from terminating the religious diets of plain-
 tiff and the putative class and order that kosher diets be restored and continued into the future for
 qualified prisoners; however, neither party has cogently addressed the propriety or scope of in-
 junctive relief. [Dkt. 17 at 13.] At this point, therefore, the Court assesses only the request for
 declaratory relief.
                                                - 11 -
Case 1:09-cv-00815-JMS-DML             Document 103         Filed 11/01/10      Page 12 of 28 PageID
                                             #: 1099



 federal funding for its facilities, it is obligated to comply with the conditions Congress attached

 to that funding. [Dkt. 17 at 5.] Accordingly, RLUIPA prevents the DOC from imposing “a sub-

 stantial burden on the religious exercise” of inmates, unless it “demonstrates that imposition of

 the burden . . . (1) is in furtherance of a compelling government interest; and (2) is the least re-

 strictive means of furthering that compelling governmental interest.” 42 U.S.C. § 2000cc-1(a).

         In making a claim under RLUIPA, a plaintiff inmate bears the burden of persuasion on

 the issue of whether the challenged practices substantially burden the exercise of their religion.

 42 U.S.C. § 2000cc-2(b). Once an inmate establishes “this prima facie case, the defendants bear

 the burden of persuasion on any [other] element of the claim, . . . namely whether their practice

 is the least restrictive means of furthering a compelling governmental interest.” Koger v. Bryan,

 523 F.3d 789, 796 (7th Cir. 2008) (quotations omitted).

         1. Do Kosher Diets Constitute Religious Exercise under RLUIPA?

         The first question under RLUIPA is whether the termination of kosher diets affected a

 “religious exercise,” which statute defines as “exercise of religion, whether or not compelled by,

 or central to, a system of religious belief.” 42 U.S.C. § 2000cc-5(7)(a). “Although RLUIPA bars

 inquiry into whether a particular belief or practice is ‘central’ to a prisoner’s religion . . . the Act

 does not preclude inquiry into the sincerity of a prisoner’s professed religiosity.” Cutter v. Wil-

 kinson, 544 U.S. 709, 725 n.13 (2005).

         Here, the DOC does not dispute either that a kosher diet is part of the sincerely held reli-

 gious beliefs and practices of some observant Jews, or that it is fundamental to the sincerely held

 religious beliefs and practices of Plaintiffs. [Dkt. 89 at 13; dkt. 84 at 16.] Accordingly, the

 Court finds that keeping kosher constitutes religious exercise for Plaintiffs.




                                                  - 12 -
Case 1:09-cv-00815-JMS-DML           Document 103         Filed 11/01/10      Page 13 of 28 PageID
                                           #: 1100



        2. Does Denial of Kosher Diets Create a “Substantial Burden” under RLUIPA?

        Plaintiffs bear the burden of persuasion on the issue of whether the challenged practices

 “substantially burden” the exercise of their religion. 42 U.S.C. § 2000cc-2(b). The term “sub-

 stantial burden” as used in RLUIPA is not specifically defined in the statute. However, the Se-

 venth Circuit has “held that in the context of RLUIPA’s broad definition of religious exercise, a .

 . . regulation that imposes a substantial burden on religious exercise is one that necessarily bears

 direct, primary, and fundamental responsibility for rendering religious exercise . . . effectively

 impracticable.” Koger, 523 F.3d at 799 (quoting Civil Liberties for Urban Believers v. City of

 Chicago, 342 F.3d 752, 761 (7th Cir. 2003)). In the specific context of dietary restrictions, the

 Seventh Circuit has held that “a prisoner’s religious dietary practice is substantially burdened

 when the prison forces him to choose between his religious practice and adequate nutrition.”

 Nelson v. Miller, 570 F.3d 868, 869 (7th Cir. 2009) (finding that denying a non-meat diet during

 Lent and on Fridays substantially burdened the religious practice of a Roman Catholic prisoner).

 The Seventh Circuit has further noted that for an observant Jew, demanding a kosher diet is tan-

 tamount to “asking for accommodation of a religious exercise rooted in sincerely held beliefs.”

 Koger, 523 F.3d at 798; see also Hunafa v. Murphy, 907 F.2d 46, 47 (7th Cir. 1990) (involving

 Muslim inmates forced to choose between pork and inadequate nutrition). Thus, if the evidence

 reveals that DOC denies kosher meals in violation of the plaintiff inmates’ religious dietary prac-

 tices, Plaintiffs will have established a prima facie case. Nelson, 570 F.3d at 869.

        In response to Plaintiffs’ argument that the denial of kosher meals burdens their religious

 exercise, the DOC does not claim to provide kosher meals. [Dkt. 83-8 at 20-21.] It does, how-

 ever, maintain that “the food [(i.e., vegan food)] is being served as part of that menu does not

 contain items that are restricted by the laws of kosher.” [Id.] In other words, the DOC uses

 kosher ingredients, but does not guarantee meals prepared according to kosher law. The DOC’s
                                                - 13 -
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 14 of 28 PageID
                                            #: 1101



 argument, therefore, is that “[a]lthough it may be a substantial burden to a Jewish prisoner’s ex-

 ercise to be required to eat food that is not kosher, the mere risk of food with kosher ingredients

 being contaminated and rendered non-kosher does not present a substantial burden to a prisoner.”

 [Dkt. 84 at 23 (emphasis added).] The DOC goes on to argue (although not until its reply) that

 because varying degrees of observance exist within the class and within Judaism at large – some

 of which adhere to the laws of kosher and some of which do not – providing kosher meals to

 every individual involved in this litigation means that “the State has effectively aligned itself

 with one side of an internal debate within Judaism,” [dkt. 95 at 16], potentially in violation of the

 Establishment Clause. [Dkt. 95 at 15.]

        The Court must, however, reject the DOC’s argument for three reasons. First, the provi-

 sion of kosher meals does not burden any inmate – Jewish or not – who prefer to eat non-kosher

 meals. The class here is limited to individuals who have self-identified as requiring a kosher diet

 to properly exercise their religious beliefs. The parties agree that the term “kosher” implicates

 not only ingredients but also method of preparation. Second, merely reducing the risk that kosh-

 er ingredients are contaminated does not make vegan meals kosher, nor does DOC argue other-

 wise. Finally, the only question at issue here, based on the plain language of RLUIPA, is wheth-

 er having access to kosher foods is part of the sincere religious exercise of Plaintiffs. 42 U.S.C.

 § 2000cc-2(a). Again, the parties agree that keeping kosher is part of Plaintiffs’ sincerely held

 religious beliefs, and the class is so defined. Thus, the Court concludes – consistent with Se-

 venth Circuit authority – that the DOC substantially burdened the Plaintiffs’ religious exercise

 when it denied them kosher food. See Nelson, 570 F.3 at 868.

        3. Has DOC Met Its Burden under RLUIPA?

        Because Plaintiffs established that the denial of kosher diets substantially burdens their

 religious exercise, the DOC can only avoid a violation of RLUIPA if it can demonstrate that the
                                                - 14 -
Case 1:09-cv-00815-JMS-DML            Document 103         Filed 11/01/10    Page 15 of 28 PageID
                                            #: 1102



 imposition of this burden furthers a compelling governmental interest and it is the least restric-

 tive means of furthering that interest. 42 U.S.C. § 2000cc-1(a), -1(b).

                a) Is there a Compelling Government Interest?

        In Cutter v. Wilkinson, 544 U.S. 709 (2005), the United States Supreme Court stressed

 that RLUIPA’s legislative history demands that courts enforcing the statute give “‘due deference

 to the experience and expertise of prison and jail administrators in establishing necessary regula-

 tions and procedures to maintain good order, security and discipline, consistent with considera-

 tions of costs and limited resources.’” Id. at 723. However, accommodating a religious practice

 will generally be more expensive than a failure to accommodate; as such, RLUIPA specifically

 contemplates that the law “may require a government to incur expenses in its own operations to

 avoid imposing a substantial burden.” 42 U.S.C. § 2000cc-3(c). Because the statute expressly

 anticipates increased costs, the fact that such diets may be more costly than non-religious diets is

 not alone a compelling governmental interest under the statute.

        Despite the general rule that cost alone is not enough, the DOC argues that cost of kosher

 diets – when added to the Hallal diets – was unacceptably high, thus creating a compelling go-

 vernmental interest in reducing “spiraling costs.” [Dkt. 90 at 15.] Specifically, it notes, “the mi-

 nimization of costs is a compelling governmental interest now more than ever,” given the one-

 billion dollar expected revenue shortfall for the state. [Dkt. 84 at 28.]

        DOC, however, has cited absolutely no relevant authority to support the conclusion that

 spiraling cost alone is a compelling government interest. The DOC incorrectly cites Baranowski

 v. Hart, 486 F.3d 112, 125 (5th Cir. 2007), for this proposition. There, the defendants demon-

 strated that a compelling governmental interest in eliminating diets existed only after they estab-

 lished that 1) the Texas Department of Criminal Justice budget was not big enough to either pro-

 vide a separate kosher kitchen or bring in kosher food from the outside and simultaneously pro-
                                                 - 15 -
Case 1:09-cv-00815-JMS-DML           Document 103        Filed 11/01/10      Page 16 of 28 PageID
                                           #: 1103



 vide a nutritionally appropriate meal to other offenders, and 2) that such a policy would breed

 resentment among inmates that would result in a security risk, and 3) that there would be an in-

 creased demand by other religious groups for similar diets. Id. at 125. As such, in Baranowski,

 an increase in costs was only one factor among several, including a security risk that collectively

 supported a compelling government interest. Id.

         The DOC has not, however, come forth with evidence establishing the factors that were

 at issue in Baranowski. 486 F.3d at 125. Here, the DOC has only presented evidence of a bud-

 getary shortfall, which is not itself a Baranowski factor. [Dkt. 83-12.] DOC argues that the mere

 fact that it will have to spend money to satisfy the religious needs of some prisoners is itself a

 compelling governmental interest. [Dkt. 83 at 28.] Insofar as the DOC asks that the Court find

 that a budgetary shortage alone can qualify as a compelling interest, the Court must reject that

 claim. Cutter, 544 U.S. at 709.

         Furthermore, the idea that cost alone could provide a compelling government interest di-

 rectly contravenes Seventh Circuit precedent. The Seventh Circuit has also noted that “orderly

 administration of a prison dietary system, and the accommodations made thereunder are legiti-

 mate concerns of prison officials . . . . The problem for the prison officials, however, is that no

 appellate court has ever found these to be compelling interests.” Koger, 523 F.3d at 800. With-

 out offering any additional reasons for terminating kosher meals, the Court cannot find that the

 government had a compelling interest that might justify burdening the religious exercise of

 Plaintiffs.

         Equally important, DOC attempts to justify its decision to discontinue kosher meals be-

 cause of the “massive increases” it incurred when it made the decision to include prisoners re-

 questing a Hallal diet with those requesting a kosher diet. The alleged significant spikes in the



                                               - 16 -
Case 1:09-cv-00815-JMS-DML             Document 103         Filed 11/01/10   Page 17 of 28 PageID
                                             #: 1104



 cost of kosher meals after Hallal meals were included were thus the result of the DOC’s internal

 decision making, and not result of an increase in kosher meal requests. DOC has produced no

 evidence whatsoever that the cost of providing kosher foods to the more limited number of indi-

 viduals in the class at issue would so “massive.” Certainly, DOC would undergo increased ex-

 pense were it to continue the same practice of providing the same pre-packaged kosher meals,

 but it has provided no evidence to suggest exactly what the cost would be to provide alternative

 kosher meals to the class.

         The DOC has failed to meet its burden of persuasion to show a compelling government

 interest under RLUIPA, an essential element for which it bears the burden. Summary judgment

 for the Plaintiffs is therefore appropriate on this basis alone.

                 b) Is Serving Vegan Meals the Least Restrictive Means of Achieving the
                    Compelling Government Interest?

         Even if the DOC could establish that its cost concerns amount to a compelling govern-

 ment interest, it would still have to demonstrate that substituting vegan meals for kosher ones is

 the least restrictive means of furthering that compelling governmental interest as is required by

 RLUIPA. 42 U.S.C. § 2000cc-1(a). It has not done so.

         Under RLUIPA, the DOC must demonstrate that no feasible less restrictive means exist

 to achieve the compelling government interest. 42 U.S.C. § 2000cc-1(a). “[A] prison ‘cannot

 meet its burden to prove least restrictive alternative unless it demonstrates that it has actually

 considered and rejected the efficacy of less restrictive measures before adopting the challenged

 practice.’” Shakur v. Schirro, 514 F.3d 878, 890 (9th Cir. 2008).

         Here, DOC asserts that discontinuing the kosher diet was the least restrictive means of

 furthering its interest. [Dkt. 84 at 2.] Furthermore, DOC argues that Mr. Willis has not pre-

 sented any cost-neutral alternatives that would satisfy inmates who request kosher meals. [Dkt.


                                                  - 17 -
Case 1:09-cv-00815-JMS-DML           Document 103        Filed 11/01/10      Page 18 of 28 PageID
                                           #: 1105



 95 at 14.] In so arguing, DOC seems to misunderstand or ignore the controlling law: Under

 RLUIPA, it is not the plaintiff’s burden to show that reasonable alternatives do exist – it is

 DOC’s burden to show that reasonable alternatives do not exist. 42 U.S.C. § 2000cc-1(a) (em-

 phasis added). Moreover DOC’s cost-neutrality argument directly contravenes the language of

 the statute which contemplates that compliance with RLUIPA “may require a government to in-

 cur expenses in its own operations to avoid imposing a substantial burden.” 42 U.S.C. § 2000cc-

 3(c).

         Although DOC contends that did in fact consider and implement several approaches to

 cost reduction, including allowing Muslim inmates to have prepackaged kosher meals (which,

 according to the prices of meals stated above, increased – rather than decreased – costs), offering

 Muslim inmates prepackaged Hallal entrees, and applying the 75-percent participation policy to

 religious meals to ensure against abuse of religious diets, [dkt. 90 at 8-9], DOC has not consi-

 dered several obvious less restrictive alternatives to the termination of kosher meals, and no evi-

 dence exists in the record indicating otherwise. [Dkt. 89 at 26.]

         Although it is not their burden, Plaintiffs have provided a substantial list of additional

 less restrictive alternatives that DOC could have exercised, or attempted to exercise, in reducing

 prison costs without eliminating kosher meals altogether. For example, the DOC never consi-

 dered: whether there were less expensive kosher vendors, restructuring its contract with Ara-

 mark, creating a kosher kitchen at one of the facilities, or providing kosher meals that do not

 have to be frozen or refrigerated as an alternative to the frozen meals, among other alternatives.

 [Dkt. 89 at 21-26.] The DOC provides no response to Plaintiffs’ suggestions.

         Another alternative to terminating kosher diets outright is to strengthen safeguards to en-

 sure against inmates abusing the religious diet system – DOC suspects false religious diet re-



                                                - 18 -
Case 1:09-cv-00815-JMS-DML           Document 103        Filed 11/01/10      Page 19 of 28 PageID
                                           #: 1106



 quests because the meals taste better. [Dkt. 84 at 27.] DOC can resolve its suspicions by eva-

 luating the religious sincerity of inmates in accordance with their dietary requests, thereby whit-

 tling down the population eating kosher meals to only those inmates requesting them for sincere-

 ly held religious reasons. [Dkt. 94 at 7-8.] The parties dispute the extent to which it is appro-

 priate for DOC to require inmates to demonstrate their religious sincerity in the RLUIPA con-

 text. [Dkts. 84; 90; 91.] However, the Supreme Court has been clear on this point: “Although

 RLUIPA bars inquiry into whether a particular belief or practice is ‘central’ to a prisoner’s reli-

 gion, see 42 U.S.C. § 2000cc-5(7)(A), the Act does not preclude inquiry into the sincerity of a

 prisoner’s professed religiosity.” Cutter, 544 U.S. at 725. As such, contrary to DOC’s position,

 the Court recognizes that instituting safeguards to ensure the religious sincerity of inmates who

 requested kosher meals under RLUIPA – although requiring effort of prison officials – would be

 appropriate, feasible, and less restrictive than terminating kosher diets altogether. 42 U.S.C. §

 2000cc-1(a).

        Therefore, even if cost reduction alone were a compelling government interest, DOC has

 not met its burden of demonstrating that it considered and rejected the many obvious alterna-

 tives, and that no feasible less restrictive means existed to achieve that interest. 42 U.S.C. §

 2000cc-1(a). On this evidentiary record, the Court has no choice but to find that, as a matter of

 law, the termination of kosher diets violated RLUIPA, 42 U.S.C. § 2000cc-1(a), and the Court

 must grant summary judgment in favor of the Plaintiffs.




                                               - 19 -
Case 1:09-cv-00815-JMS-DML             Document 103          Filed 11/01/10    Page 20 of 28 PageID
                                             #: 1107



     B) Does the DOC’s 75-Percent Policy as Applied to Mr. Willis Violate His Individual
        Rights?

        In addition to requesting summary judgment on behalf of the class, Mr. Willis seeks indi-

 vidual declaratory8 relief under RLUIPA and under 42 U.S.C. § 1983 for First Amendment vi-

 olations concerning the application of the 75-percent policy. [Dkt. 81 at 29.] He further seeks

 nominal damages under § 1983 against Dr. Hall and Chaplain Hodges in their individual capaci-

 ties, but because § 1983 does not provide a cause of action for damages against state agencies, he

 does not seek any damages against the DOC itself. [Id.]

                 1) Have Mr. Willis’s First Amendment Rights been Violated?

        The parties agree that the United States Supreme Court decision in Turner v. Safley lays

 out the calculus for determining the extent of inmates’ First Amendment rights. 482 U.S. 78

 (1987). It held that the government violates the First Amendment if it burdens fundamental

 rights for reasons not “reasonably related” to legitimate penological interests. Id. at 87. While

 the courts must show deference to prison officials’ policy making expertise, the reasonableness

 of their regulations will be tested against four factors:

            o whether the regulation has a valid, rational connection to a legitimate go-
              vernmental objective;
            o whether there are alternative means for the prisoners to exercise the rights
              in question;
            o what impact will accommodation of the right in question have on guards
              and other inmates and on the allocation of prison resources generally;
            o whether there are ready alternatives to the regulation in question. “[T]he
              absence of ready alternatives is evidence of the reasonableness of a prison
              regulation . . . . By the same token, the existence of obvious, easy alterna-
              tives, may be evidence that the regulation is not reasonable, but an ‘exag-
              gerated response’ to prison concerns.”

 Id. at 89-90.


 8
   Mr. Willis also seeks injunctive relief, [dkt. 17 at 13], but given that he has not yet properly il-
 lustrated the scope of relief sought, the Court will address only declaratory relief.

                                                 - 20 -
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 21 of 28 PageID
                                            #: 1108



        With respect to the first factor, the legitimate government interest proffered by the DOC

 in support of the 75-percent policy is saving costs by reducing the number of inmates who re-

 ceive kosher meals without a sincere religious reason. [Dkt. 83-10 at 4-5.] The evidence estab-

 lishes, however, that its application to Mr. Willis does not rationally relate to this purpose. Turn-

 er, 482 U.S. at 89.

        The challenge made here is against the regulation as applied to Mr. Willis.9 [Dkt. 89 at

 35.] Mr. Willis was suspended from his kosher diet because did not eat 75 percent of his meals.

 [Dkt. 94 at 8.] The undisputed evidence shows that Mr. Willis ate all of the pre-packaged kosher

 meals available, [dkt. 89 at 25], but those meals were not sufficient to push him over the 75-

 pecent threshold because pre-packaged kosher meals were only served at two-thirds of meal-

 times. Mr. Willis’s religious beliefs prevented him from eating breakfast; he did not consider the

 breakfasts kosher. He lost the ability to eat kosher meals either because the DOC did not provide

 enough kosher meals in the first place, or because DOC chose a benchmark in excess of the per-

 centage of kosher meals it provided. Given that Mr. Willis sincerely believed the breakfasts

 DOC provided weren’t not kosher, he was doomed to fail once the 75-percent policy was enacted

 as he was only served kosher meals 66% of the time. Enforcing the 75-percent policy against

 Mr. Willis does not further the legitimate government interest of screening out insincere inmates

 – it actually punishes an inmate whose sincerity is not in question. Turner, 482 U.S. at 89.

        The additional Turner prongs likewise favor Mr. Willis. There is no dispute that when

 Mr. Willis’s diet card was taken, he had no alternative to the kosher diet that enabled his reli-

 gious exercise – he could only receive non-kosher meals for breakfast, which his religious beliefs

 prevented him from eating. [Dkt. 81 at 31.] Moreover, continuing to provide Mr. Willis with

 9
   Neither party disputes that the regulation, as applied, should be assessed under the Turner fac-
 tors.

                                                - 21 -
Case 1:09-cv-00815-JMS-DML           Document 103        Filed 11/01/10      Page 22 of 28 PageID
                                           #: 1109



 kosher meals during the final month before the diets were terminated would have had minimal

 impact on prison resources. [Id.] Finally, as Mr. Willis rightly points out, the clear ready alter-

 native to enforcing this regulation against him would have been to enforce the policy against in-

 dividuals who were using religious diet cards without a true religious commitment, or to reduce

 the percentage to one corresponding to the number of kosher meals actually served.10 [Id.]

        Because the DOC’s enforcement of its 75-percent policy against Mr. Willis fails each

 prong of the Turner, its application to him violates his First Amendment rights. 482 U.S. at 78.

                2) In Light of the First Amendment Violation, Is DOC Liable for Violating
                   Mr. Willis’s RLUIPA Rights?

        The First Amendment standard is less demanding on the DOC than RLUIPA in this con-

 text. Accordingly, if a First Amendment violation is found, a RLUIPA violation also exists.

 Harvey v. Adams County Sheriff’s Office, 2008 WL 2396761 *2. (“Because the defendants have

 not established that the failure to provide a kosher diet was reasonable under the First Amend-

 ment, they have also failed to meet RUILPA’s more demanding standard.”). Therefore, because

 termination of kosher meals violates Mr. Willis’s First Amendment rights, it necessarily violates

 his rights under the more demanding RUILPA standard. Id. The Court therefore finds that Mr.

 Willis is entitled to declaratory relief against DOC for violating his rights under RLUIPA.




 10
   The Court recognizes that this alternative would involve screening for religious sincerity of
 inmates. However, as stated above, this is not beyond the purview of DOC and would, to the
 contrary, help the DOC ensure rational application of its religious diet regulations.

                                               - 22 -
Case 1:09-cv-00815-JMS-DML            Document 103       Filed 11/01/10      Page 23 of 28 PageID
                                            #: 1110



                3) Is Mr. Willis Entitled Nominal Damages against Dr. Hall and Chaplain
                   Hodges under § 1983?

        In addition to seeking declaratory relief against DOC under RLUIPA, Mr. Willis seeks

 nominal damages against Dr. Hall and Chaplain Hodges in their individual capacities under §

 1983 for the violation of his First Amendment rights.11 [Dkt. 89 at 25.]

        Mr. Willis seeks nominal damages against Dr. Hall for formulating, and against Chaplain

 Hodges for applying, the 75-percent policy that resulted in the denial of Mr. Willis’ constitution-

 al rights. [Dkt. 89 at 26.]

        To prevail on a § 1983 claim, Mr. Willis must establish that (1) he had a constitutionally

 protected right, (2) he was deprived of that right in violation of the Constitution, (3) the defen-

 dant intentionally caused that deprivation, and (4) the defendant acted under color of state law.

 McNabola v. Chicago Transit Authority, 10 F.3d 501, 513 (7th Cir. 1993). Liability can be

 based only on a finding that conduct causing a constitutional deprivation occurred at the defen-

 dant’s direction or with his knowledge and consent. Gentry v. Duckworth, 65 F.3d 555, 561 (7th

 Cir. 1995). In other words, the official sued “must know about the conduct and facilitate it, ap-

 prove it, condone it, or turn a blind eye….” Id. The Seventh Circuit has stated that “in order [for

 an inmate] to recover damages against a state actor under § 1983, a plaintiff must show the actor

 was ‘personally responsible for the constitutional deprivation.’” J.H. ex rel. Higgin v. Johnson,

 346 F.3d 788, 793 (7th Cir. 2003).

        As discussed above, the 75-percent policy violated Mr. Willis’s First Amendment rights;

 therefore, the first two elements of liability are established as to both Dr. Hall and Chaplain


 11
    Mr. Willis concedes that under the Prison Litigation Reform Act, 42 U.S.C. § 1997e(e), which
 circumscribes the scope of damages available to inmates, a violation of his First Amendment
 rights, absent physical injury, only entitles him to nominal damages. Calhoun v. DeTella, 319
 F.3d 936 (7th Cir. 2003).

                                               - 23 -
Case 1:09-cv-00815-JMS-DML           Document 103       Filed 11/01/10      Page 24 of 28 PageID
                                           #: 1111



 Hodges. Additionally, there is no dispute that the Defendants were acting under color of state

 law. With respect to both Defendants, the question is whether the third element is met.

        With respect to Dr. Hall, Mr. Willis asserts that Dr. Hall’s development of 75-percent

 policy against him constituted a knowing violation of his constitutional rights. However, insofar

 as this is not a facial challenge to the 75-percent policy, Mr. Willis only seeks to hold Dr. Hall

 liable for implementing this policy against Mr. Willis. To this point, Defendants assert that it

 was John Schilling’s April 8, 2009 email that effectuated the implementation of the 75-percent

 policy against inmates with religious preference diets. [Dkt. 84 at 30.] Mr. Willis does not dis-

 pute this assertion. Moreover, although Dr. Hall denied Mr. Willis’s appeal, this denial alone is

 not actionable. See Burks v. Raemisch, 555 F.3d 592, 595 (7th Cir. 2009) (denial of a prisoner’s

 grievance is not actionable as a deprivation of a constitutional right.) Therefore, as a matter of

 law, Dr. Hall is not liable for nominal damages.

        As to Chaplain Hodges, Mr. Willis asserts that Chaplain Hodges is liable for nominal

 damages for enforcing the policy that violated his constitutional rights. Whether Chaplain

 Hodges intentionally violated Mr. Willis’s constitutional rights depends on whether Chaplain

 Hodges knew that in directing the confiscation of Mr. Willis’s diet card, he was in fact prevent-

 ing Mr. Willis from complying with the laws of kosher. Gentry, 65 F.3d at 561.

        Record testimony12 reveals that Chaplain Hodges knew that the breakfast meals were not

 kosher, and that Mr. Willis did not eat the breakfast meals for that reason. [Dkt. 80-5 at 18-20.]

 Mr. Willis testified that upon directing the confiscation of Mr. Willis’s meal card, Chaplain

 Hodges spoke to Mr. Willis in his office and said that “he wasn’t a bad guy, he wasn’t trying to



 12
  For the purpose of this issue, the evidence is reviewed in the light most favorable to the non-
 moving DOC. Celotex, 477 U.S. at 330.

                                               - 24 -
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10      Page 25 of 28 PageID
                                            #: 1112



 violate [Mr. Willis’s] rights, although he did agree it was a First Amendment Violation.” [Dkt.

 80-5 at 20.]

        DOC is silent in response to the assertion that when Chaplain Hodges ordered the remov-

 al of Mr. Willis’s diet card, he knowingly violated Mr. Willis’s First Amendment rights. Instead,

 Chaplain Hodges argues that he never discriminated against Mr. Willis; rather, he even-handedly

 applied DOC’s 75 percent policy.13 [Dkt. 83-15 at 5.] However, knowingly applying a policy in

 violation of an inmate’s First Amendment rights – even if even-handedly – is not permitted under §

 1983. Since Chaplain Hodges does not dispute Mr. Willis’s assertion that he knowingly violated

 his First Amendment rights, the Court finds that he is personally responsible for the constitution-

 al deprivation. Accordingly, he is liable for nominal damages. Gentry, 65 F.3d at 561.

        Therefore, the Court determines that, as a matter of law, that Mr. Willis is not entitled to

 nominal damages against Dr. Hall. Mr. Willis is, however, entitled to nominal damages against

 Chaplain Hodges.

                                            CONCLUSION

        For the foregoing reasons, the Court GRANTS IN PART AND DENIES IN PART

 Plaintiff’s Motion for Summary Judgment. [Dkt. 80.] The motion is granted with respect to

 Count I. As to Count II, the Court finds that the DOC violated Mr. Willis’s First Amendment




 13
    Chaplain Hodges further states that insofar as there was nothing precluding Mr. Willis from
 going through the line at breakfast (and then declining to accept the meal) to meet the 75-percent
 threshold, [dkt. 83-15 at 5], Mr. Willis was in fact responsible for the confiscation of his card and
 therefore the deprivation of his own rights. [Dkt. 84 at 32.] There is conflicting evidence as to
 the feasibility of Mr. Willis’s alternatives to violating the 75-percent policy. [Dkt. 85 at 15; dkt.
 83-15 at 5.] But that evidence does not itself raise a genuine issue of material fact – Mr. Willis’s
 alleged option to go through the breakfast line does not abdicate Chaplain Hodges of his respon-
 sibility to respect Mr. Willis’s First Amendment rights, nor does it bear on Chaplain Hodges’s
 personal involvement in the deprivation of Mr. Willis’s rights.

                                                - 25 -
Case 1:09-cv-00815-JMS-DML            Document 103        Filed 11/01/10       Page 26 of 28 PageID
                                            #: 1113



 and RLUIPA rights. The Court grants his claim for nominal damages against Chaplain Hodges

 and denies his claim as against Dr. Hall.

        The Court further GRANTS IN PART AND DENIES IN PART Defendants’ Motion

 for Summary Judgment. [Dkt. 83.] As to Count I, summary judgment is denied. As to Count II,

 the Court grants summary judgment with respect to Mr. Willis’s claim against Dr. Hall and de-

 nies summary judgment with respect to his claim against DOC and Chaplain Hodges.

        Mr. Willis, on behalf of himself and the class, requests injunctive relief in accordance

 with this Court’s declaratory judgment. DOC does not dispute that insofar as the class as a

 whole, and Mr. Willis individually, are entitled to declaratory relief, they are likewise entitled to

 injunctive relief. However, at this point, neither party has presented cogent argument as to

 whether injunction should issue, nor illustrated what the scope of any injunction should be.

        Therefore, the Court will conduct a hearing on the scope of injunctive relief to take place

 on November 30 at 1:30 pm in Room 307 at US Courthouse, 46 East Ohio Street, Indianapolis,

 Indiana. Each side will have 20 minutes for oral argument. The parties are encouraged to meet

 and confer, with the assistance of the Magistrate Judge if requested, to attempt to agree on the

 terms of an injunction. If the parties cannot agree, they must each file a proposed form of injunc-

 tion by November 23.



          11/01/2010                                      _______________________________

                                                             Hon. Jane Magnus-Stinson, Judge
                                                             United States District Court
                                                             Southern District of Indiana
 Distribution via ECF only:

 Eric James Beaver
 INDIANA OFFICE OF THE ATTORNEY GENERAL
 eric.beaver@atg.in.gov



                                                - 26 -
Case 1:09-cv-00815-JMS-DML   Document 103    Filed 11/01/10   Page 27 of 28 PageID
                                   #: 1114



 Kenneth J. Falk
 ACLU OF INDIANA
 kfalk@aclu-in.org

 Cory Christian Voight
 INDIANA OFFICE OF THE ATTORNEY GENERAL
 cory.voight@atg.in.gov

 FAILIS RAMSEY
 905561
 INDIANA STATE PRISON
 Inmate Mail/Parcels
 One Park Row
 MICHIGAN CITY, IN 46360

 JOSEPH T. WILLIAMS-EL
 910763
 One Park Row C East 231
 Michigan City, IN 46360

 EARL RAHEEM
 INDIANA STATE PRISON
 INDIANA STATE PRISON
 Inmate Mail/Parcels
 One Park Row
 MICHIGAN CITY, IN 46360

 ROMAN JONES
 INDIANA STATE PRISON
 INDIANA STATE PRISON
 Inmate Mail/Parcels
 One Park Row
 MICHIGAN CITY, IN 46360

 T. HARRIS
 INDIANA STATE PRISON
 INDIANA STATE PRISON
 Inmate Mail/Parcels
 One Park Row
 MICHIGAN CITY, IN 46360

 BRIAN K. GREER
 881058
 INDIANA STATE PRISON
 INDIANA STATE PRISON
 Inmate Mail/Parcels
 One Park Row
                                    - 27 -
Case 1:09-cv-00815-JMS-DML   Document 103    Filed 11/01/10   Page 28 of 28 PageID
                                   #: 1115



 MICHIGAN CITY, IN 46360




                                    - 28 -
